         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 1 of 33




1    Daniel J. Herling (SBN 103711)
     djherling@mintz.com
2    Paige E. Adaskaveg (SBN 330551)
     peadaskaveg@mintz.com
3    MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO, P.C.
     44 Montgomery Street, 36th Floor
4    San Francisco, CA 94104
     Tel: 415-432-6000
5    Fax: 415-432-6001

6    Arameh Z. O’Boyle (SBN 239495)
     azoboyle@mintz.com
7    MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO, P.C.
     2049 Century Park East, Suite 300
8    Los Angeles, CA 90067
     Tel: 310-586-3200
9    Fax: 310-586-3202

10   Attorneys for Defendant
     TARGET CORPORATION
11

12                             UNITED STATES DISTRICT COURT
13                        NORTHERN DISTRICT OF CALIFORNIA
14                                  OAKLAND DIVISION
15   SHEJUANA ARY, individually and on behalf Case No. 4:22-cv-02625-HSG
     of all other persons similarly situated,
16                                            DEFENDANT TARGET CORPORATION’S
                         Plaintiff,           NOTICE OF MOTION AND MOTION TO
17            vs.                             DISMISS AND TO STRIKE PLAINTIFF’S
                                              COMPLAINT; MEMORANDUM OF
18   TARGET CORPORATION,                      SUPPORTING POINTS AND AUTHORITIES
19                  Defendant.              [FED. R. CIV. P. 12 (b)(6), and 12(f)]
20                                          Date:       October 13, 2022
                                            Time:       2:00 p.m.
21                                          Judge:      Hon. Haywood S. Gilliam, Jr.
                                            Location:   1301 Clay Street
22                                                      Courtroom 2, 4th Floor
                                                        Oakland, CA 94612
23
                                            Complaint filed:      April 29, 2022
24                                          Trial:                TBD
25

26

27

28
                                             i
                 DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                 MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                  MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
          Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 2 of 33




1                 NOTICE OF MOTION AND MOTION TO DISMISS AND TO STRIKE
2           TO THE ABOVE-ENTITLED COURT AND ALL COUNSEL OF RECORD:
3           PLEASE TAKE NOTICE that on October 13, 2022 at 2:00 p.m., before the Honorable
4    Haywood S. Gilliam, Jr., United States District Judge, in Courtroom 2 at the United States District

5    Court, Northern District of California, Oakland Courthouse, 1301 Clay Street, Oakland, California,

6    Defendant Target Corporation (“Defendant” or “Target”), will and hereby does move this Court for

7    an order dismissing, and/or striking portions of, the Class Action Complaint (“Complaint”) filed by

8    Plaintiff Shejuana Ary (“Plaintiff”), pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(6)

9    and 12(f).

10          As demonstrated in the accompanying Memorandum of Points and Authorities, Plaintiff fails

11   to state a claim on any substantive count. Plaintiff also lacks standing to seek injunctive relief.

12   Accordingly, Defendant respectfully requests this Court to dismiss Plaintiff’s Complaint with

13   prejudice.

14          This Motion is based on this Notice of Motion and Motion, the attached Memorandum of

15   Points and Authorities, the Complaint (Dkt. No. 1), the Declaration of Arameh Z. O’Boyle in Support

16   of Defendant Target Corporation’s Motion to Dismiss and to Strike Plaintiff’s Complaint, Request

17   for Judicial Notice in Support of Defendant Target Corporation’s Motion to Dismiss and to Strike

18   Plaintiff’s Complaint, all pleadings and papers in this action, and such other and additional evidence
19   and argument as may be properly presented in support of the Motion.

20                             STATEMENT OF ISSUES TO BE DECIDED
21          1.      Whether Plaintiff’s FAL, CLRA, and UCL causes of action should be dismissed for

22   lack of standing to seek equitable relief given that Plaintiff pleads she has an adequate remedy at law.

23          2.      Whether Plaintiff’s request for injunctive relief under the FAL and UCL should be

24   dismissed under Rule 12(b)(1) for lack of Article III standing.

25          3.      Whether Plaintiff’s fraud-based FAL, CLRA, and UCL claims should be dismissed

26   for failure to state a claim given that (i) no reasonable consumer would be misled by the Product’s

27   labeling and (ii) there was no material omission of fact or duty to disclose.

28
                                                        ii
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
          Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 3 of 33




1            4.      Whether Plaintiff’s FAL and UCL claims should be dismissed for lack of statutory

2    standing.

3            5.      Whether Plaintiff’s UCL claims brought under the unlawful and unfair prongs should

4    be dismissed for failure to state a claim given that they overlap entirely with Plaintiff’s FAL, CLRA,

5    UCL, and MMWA claims.

6            6.      Whether Plaintiff’s MMWA claim should be dismissed for lack of jurisdiction and

7    failure to plead an underlying violation of state warranty law.

8            7.      Whether Plaintiff’s claim for quasi-contract/unjust enrichment should be dismissed for

9    failure to state a claim.

10           8.      Whether Plaintiff’s prayer for punitive damages must be dismissed as a matter of law.

11           9.      Whether the irrelevant and immaterial unverified studies relied upon by Plaintiff to

12   support her claims (See Compl., pp. 9-13, nn. 3, 5, 6, 7, 10, 11, 13, 14, 15, 16, and 17; ¶¶ 27, 28)

13   should be stricken from the Complaint under Rule 12(f).

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                       iii
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
            Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 4 of 33




1                                                     TABLE OF CONTENTS

2    I.      INTRODUCTION ...............................................................................................................1
3    II.     FACTUAL BACKGROUND ..............................................................................................2
4            A.   The Product ..............................................................................................................2
5            B.   Plaintiff’s Alleged Experience with the Product .....................................................3
     III.    MOTION TO DISMISS ......................................................................................................5
6
             A.    Legal Standards ........................................................................................................5
7
             B.    Plaintiff Lacks Standing to Pursue Injunctive Relief or Equitable Remedies .........6
8                  1.      Plaintiff Lacks Standing to Seek Equitable Remedies .................................6
9                  2.      Plaintiff Lacks Standing to Seek Injunctive Relief – FRCP 12(b)(1) ..........7
             C.    Plaintiff Has Not Plausibly Alleged a Statutory Consumer Claim ..........................8
10
                   1.      Fraud-Based Claims under FAL, CLRA, and UCL.....................................9
11                         a.       “Maximum Strength” Is Not False, Deceptive, or Misleading ........9
12                         b.       “Pain-Relief” Is Not False, Deceptive, or Misleading ...................12
                           c.       “Up to 8 Hours” Is Not False, Deceptive or Misleading ...............12
13
                           d.       Plaintiff’s Allegations Regarding Flexibility Should Be
14                                  Disregarded ....................................................................................14
                   2.      There Was No Omission of a Material Fact or Duty to Disclose ..............15
15
                           a.       Defendant Did Not Omit Any Fact Contrary to a Material
16                                  Representation................................................................................15
                           b.       Defendant Was Not Obligated to Disclose Any Omitted Fact ......16
17
                   3.      Plaintiff Lacks Statutory Standing Under the FAL and UCL ....................16
18                 4.      Plaintiff also Fails to State a Claim Under The Unlawful and Unfair
                           Prongs of the UCL .....................................................................................17
19
             D.    Plaintiff Fails to State a Magnuson-Moss Warranty Act Claim ............................18
20                 1.      The Court Lacks Jurisdiction over Plaintiff’s MMWA Claim ..................18
21                 2.      Plaintiff’s MMWA Claim Must Be Dismissed Because Plaintiff Has
                           Failed to Plead an Underlying Violation of State Warranty Law ..............19
22           E.    Plaintiff Fails to State a Quasi-Contract/Unjust Enrichment Claim ......................19
23           F.    Plaintiff’s Request for Punitive Damages Must Be Dismissed .............................20
                   1.      Punitive Damages Are Not Recoverable Under Plaintiff’s Claims as
24                         Pled ............................................................................................................21
25                 2.      Plaintiff Fails to Plead a Request for Punitive Damages with
                           Particularity ................................................................................................21
26   IV.     DEFENDANT MOVES TO STRIKE THE PUBLICATIONS AND CITIZEN
             PETITION CITED IN THE COMPLAINT ......................................................................22
27
     V.      CONCLUSION ..................................................................................................................25
28
                                                                        iv
                        DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                        MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                         MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
            Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 5 of 33




1                                                     TABLE OF AUTHORITIES

2                                                                                                                                        Page(s)
3    Cases
4    Ashcroft v. Iqbal,
5       556 U.S. 662 (2009) ...................................................................................................................6

6    Becerra v. Dr. Pepper/Seven Up, Inc.,
        2018 WL 3995832 (N.D. Cal. Aug. 21, 2018) ....................................................................9, 10
7
     Bell Atl. Corp. v. Twombly,
8        550 U.S. 544 (2007) .............................................................................................................6, 22
9    Calagno v. Rite Aid Corp.,
        2020 WL 6700451 (N.D. Cal. Nov. 13, 2020) ........................................................................21
10

11   Cetacean Cmty. v. Bush,
        386 F.3d 1169 (9th Cir. 2004) ...................................................................................................6
12
     Cimoli v. Alacer Corp.,
13      546 F. Supp. 3d 897 (N.D. Cal. 2021) .......................................................................................8
14   City & Cnty. of San Francisco v. Whitaker,
         357 F. Supp. 3d 931 (N.D. Cal. 2018) .......................................................................................6
15

16   Clemens v. DaimlerChrysler Corp.,
        534 F.3d 1017 (9th Cir. 2008) .................................................................................................19
17
     Daugherty v. Am. Honda Motor Co.,
18      144 Cal. App. 4th 824 (2006) ..................................................................................................19

19   Davidson v. Kimberly-Clark Corp.,
        2014 WL 3919857 (N.D. Cal. Aug. 8, 2014) ..........................................................................22
20
     Davidson v. Kimberly-Clark Corp.,
21
        889 F.3d 956 (9th Cir. 2018) .....................................................................................................7
22
     Davis v. Capitol Recs., LLC,
23      2013 WL 1701746 (N.D. Cal. Apr. 18, 2013) .........................................................................20

24   Dinan v. Sandisk LLC,
        2019 WL 2327923 (N.D. Cal. May 31, 2019) .........................................................................11
25
     Ebner v. Fresh, Inc.,
26      838 F.3d 958 (9th Cir. 2016) ...............................................................................................9, 12
27

28
                                                                           v
                          DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                          MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                           MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
            Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 6 of 33




1    Eidmann v. Walgreen Co.,
        522 F. Supp. 3d 634 (N.D. Cal. 2021) ........................................................9, 11, 15, 16, 17, 18
2
     Engel v. Novex Biotech LLC,
3       2014 WL 5794608 (N.D. Cal. Nov. 6, 2014) ..........................................................................13
4
     ESG Capital Partners, LP v. Stratos,
5       828 F.3d 1023 (9th Cir. 2016) .................................................................................................20

6    Fantasy, Inc. v. Fogerty,
        984 F.2d 1524 (9th Cir. 1993) .................................................................................................22
7
     Floyd v. Am. Honda Motor Co.,
8       966 F.3d 1027 (9th Cir. 2020) .................................................................................................19
9    Goel v. Coal. Am. Holding Co. Inc,
10      2011 WL 13128300 (C.D. Cal. July 5, 2011) ..........................................................................21

11   Grieves v. Superior Court,
        157 Cal. App. 3d 159 (1984) ...................................................................................................21
12
     Hadley v. Kellogg Sales Co.,
13      243 F. Supp. 3d 1074 (N.D. Cal. 2017) ...................................................................................18
14   Ib Melchior v. New Line Prods., Inc.,
15       106 Cal.App.4th 779 (2003) ....................................................................................................19

16   In re Gilead Scis. Sec. Litig.,
         536 F.3d 1049 (9th Cir. 2008) ...................................................................................................6
17
     In re Wal-Mart Stores, Inc. Wage & Hour Litig.,
18       505 F. Supp. 2d 609 (N.D. Cal. 2007) .....................................................................................21
19   Kelly v. Fleetwood Enters., Inc.,
        377 F.3d 1034 (9th Cir. 2004) .................................................................................................21
20

21   Kwikset Corp. v. Superior Court,
        51 Cal. 4th 310 (2011) .......................................................................................................16, 17
22
     Lansmont Corp. v. SPX Corp.,
23      2011 WL 2463281 (N.D. Cal. June 20, 2011) .........................................................................21
24   Lavie v. Procter & Gamble Co.,
        105 Cal. App. 4th 496 (2003) ....................................................................................................9
25
     Lokey v. CVS Pharmacy, Inc.,
26
        2020 WL 6822890 (N.D. Cal. Nov. 20, 2020) ........................................................................11
27

28
                                                                         vi
                          DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                          MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                           MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
            Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 7 of 33




1    Mack v. Mich. Millers Mut. Ins. Co.,
       4 Cal. App. 4th 306 (1992) ......................................................................................................22
2
     Matic v. United States Nutrition, Inc.,
3       2019 WL 3084335 (C.D. Cal. Mar. 27, 2019) ...........................................................................8
4
     Matilock, Inc. v. Pouladdej,
5       2020 WL 3187198 (N.D. Cal. June 15, 2020) .........................................................................14

6    Miller v. Rykoff–Sexton, Inc.,
        845 F.2d 209 (9th Cir. 1988) ...................................................................................................25
7
     Missouri ex rel. Koster v. Harris,
8       847 F.3d 646 (9th Cir. 2017) ...................................................................................................25
9    Nationwide Biweekly Admin., Inc. v. Superior Court,
10      9 Cal.5th 279 (2020) ..................................................................................................................6

11   Rhynes v. Stryker Corp.,
        2011 WL 2149095 (N.D. Cal. May 31, 2011) ...........................................................................7
12
     Robie v. Trader Joe’s Co.,
13      2021 WL 2548960 (N.D. Cal. June 14, 2021) .........................................................................20
14   Robinson v. J.M. Smucker Co.,
15      2019 WL 2029069 (N.D. Cal. May 8, 2019) ...........................................................................22

16   Roper v. Big Heart Pet Brands, Inc.,
        510 F. Supp. 3d 903 (E.D. Cal. 2020)......................................................................................21
17
     Sciacca v. Apple, Inc.,
18       362 F. Supp. 3d 787 (N.D. Cal. 2019) .......................................................................................6
19   Scilex Pharms. Inc. v. Sanofi-Aventis U.S. LLC,
         552 F. Supp. 3d 901 (N.D. Cal. 2021) .....................................................................................12
20

21   Shanks v. Jarrow Formulas, Inc.,
        2019 WL 7905745 (C.D. Cal. Dec. 27, 2019) ...........................................................................8
22
     Sharma v. Volkswagen AG,
23      524 F. Supp. 3d 891 (N.D. Cal. 2021) ...................................................................................6, 7
24   Smith v. Keurig Green Mountain, Inc.,
        393 F. Supp. 3d 837 (N.D. Cal. 2019) .....................................................................................19
25
     Sonner v. Premier Nutrition Corp.,
26
        971 F.3d 834 (9th Cir. 2020) .....................................................................................................7
27

28
                                                                          vii
                          DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                          MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                           MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
            Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 8 of 33




1    Summers v. Earth Island Inst.,
        555 U.S. 488 (2009) ...................................................................................................................7
2
     Tubbs v. AdvoCare Int’l, LP,
3       2017 WL 4022397 (C.D. Cal. Sept. 12, 2017) ........................................................................13
4
     Vallarta v. United Airlines, Inc.,
5       497 F. Supp. 3d 790 (N.D. Cal. 2020) .....................................................................................20

6    Villa v. Maricopa Cnty.,
         865 F.3d 1224 (9th Cir. 2017) ...................................................................................................7
7
     Walsh v. Ford Motor Co.,
8       807 F.2d 1000 (D.C. Cir. 1986) ...............................................................................................19
9    Whittlestone, Inc. v. Handi–Craft Co.,
10      618 F.3d 970 (9th Cir. 2010) .......................................................................................20, 21, 22

11   Williams v. Gerber Prods. Co.,
        552 F.3d 934 (9th Cir. 2008) .....................................................................................................9
12
     Statutes
13
     15 U.S.C. § 2301 ............................................................................................................................19
14
     15 U.S.C. § 2310 ......................................................................................................................18, 19
15

16   Cal. Bus. & Prof. Code § 17204 ....................................................................................................16

17   Cal. Bus. & Prof. Code § 17535 ....................................................................................................16

18   Cal. Civ. Code § 3294 ....................................................................................................................21

19   Other Authorities

20   21 C.F.R. § 201.66 .........................................................................................................................11
21   21 C.F.R. § 210.3 .............................................................................................................................9
22   48 Fed. Reg. 5852-01 (Feb. 8, 1983) ...........................................................................................2, 9
23
     55 Fed. Reg. 6932 (Feb. 27, 1990) ................................................................................................24
24
     Fed. R. Civ. P. 12(b) ....................................................................................................5, 6, 7, 20, 25
25
     Fed. R. Civ. P. 12(f) .................................................................................................................20, 22
26

27

28
                                                                            viii
                           DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                           MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                            MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
          Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 9 of 33




1                 MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
2    I.      INTRODUCTION
3            Plaintiff’s copycat lawsuit is one of over a dozen consumer class actions brought against

4    manufacturers and retailers of various adhesive lidocaine patches sold over the counter (“OTC”). The

5    product at issue in this case is the “up & up lidocaine pain-relief patches” sold at Target retail stores

6    (the “Product”).

7            Not surprisingly, some of the critical allegations in Plaintiff’s Complaint appear implausible.

8    First, Plaintiff’s allegations regarding her purchase of the Product at Target stores in Alameda County

9    are nearly identical to the allegations in a complaint filed last year by Plaintiff’s counsel in the Eastern
10   District of New York regarding another brand of OTC lidocaine patch products sold at CVS. See

11   Declaration of Arameh Z. O’Boyle in Support of Defendant’s Motion to Dismiss and to Strike

12   Plaintiff’s Complaint (“O’Boyle Decl.”), Ex. 8 (redline comparison of paragraph five of Plaintiff’s

13   Complaint with paragraph eight of the complaint filed in Bell v. CVS, Case No. 1:21-cv-06850). It is

14   a remarkable coincidence that two different plaintiffs residing nearly 3,000 miles apart, who

15   purchased two different products, manufactured by different companies, and sold by different retail

16   stores, would happen to have identical experiences. Second, although Plaintiff’s Complaint repeatedly

17   challenges the Product’s “flexible” claim, the Product label makes no such representation. Compare

18   Compl. ¶ 5 with O’Boyle Decl., Ex. 6 (complaint filed in Gonzalez Rodriguez v. Walmart Inc., Case
19   No. 1:22-cv-02991) ¶ 3. Finally, it is puzzling that Plaintiff would purchase the same Product on

20   “various occasions” (see Compl. ¶ 5) given her claim that it “consistently failed to provide pain relief

21   anywhere close to the represented 8 hours.” Id. But one thing is clear: Plaintiff registered no

22   complaints about the Product until fourteen (14) predecessor class action lawsuits were initiated,
23   including four (4) filed by her counsel.

24           Plaintiff’s claims, directed to three statements on Defendant’s Product labeling—(1)

25   “maximum strength,” (2) “pain-relief,” and (3) “up to 8 hours”—fare no better. Plaintiff’s claim that

26   “maximum strength” is false and misleading relies primarily on the theory that there are superior

27   prescription-strength lidocaine patches on the market that deliver a greater dose of lidocaine. No

28
                                                          1
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
           Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 10 of 33




1    reasonable consumer, however, would read “maximum strength” as Plaintiff alleges, particularly

2    where the only comparison suggested on the Product’s packaging is to another OTC (non-

3    prescription) lidocaine patch with the same concentration of lidocaine. There is no dispute that 4%

4    lidocaine—the dosage of the Product—is the maximum strength dosage permitted in the OTC

5    marketplace.

6            Similarly, Plaintiff’s claims directed to the “pain-relief” and “up to 8 hours” statements rely

7    on the false equivalency that a reasonable consumer would interpret “up to” as meaning “at least.”

8    To the contrary, “up to” is a direction for the maximum amount of time the Product should be used;

9    it is not a promise that the Product will “continuously adhere” and provide pain relief consistently for

10   8 hours, as Plaintiff alleges. See Compl. ¶ 12. The Product’s directions, which Plaintiff allegedly

11   followed, instruct consumers to “remove patch from the skin after at most 8 hours of application.”

12   O’Boyle Decl., Ex. 1. And despite her personal disappointment with the Product, even Plaintiff does

13   not dispute that the Product can provide “pain-relief.”

14           Plaintiff cannot bring a putative consumer class action based on her own unreasonable

15   interpretations of an appropriate product label. Plaintiff has not shown anything false or misleading

16   about the Product’s labeling, which complies with the existing FDA regulatory framework and is

17   consistent with many similar OTC lidocaine patches on the market. Because all of Plaintiff’s claims

18   suffer from irretrievable flaws, the Complaint should be dismissed with prejudice.
19   II.     FACTUAL BACKGROUND
20           A.     The Product
21           Target sells the store-brand non-prescription Product to consumers over-the-counter (OTC) at

22   its retail stores and online at www.target.com. Compl. ¶¶ 3, 11; O’Boyle Decl., Ex. 1. The Product’s

23   front label describes it as “maximum strength” and prominently discloses what this means: “4%

24   lidocaine/topical anesthetic.”1 Id. The label suggests consumers “[c]ompare to active ingredient in

25   Salonpas Lidocaine Patch,” which is another OTC lidocaine patch product. Id. The front of the label

26
     1
27    For nearly forty years, the FDA has recognized, in a “Tentative Final Monograph” entitled External
     Analgesic Drug Products for Over-the-Counter Human Use (“TFM”), that lidocaine can be used as
28   an OTC analgesic up to a strength of 4%. Compl. ¶¶ 24-25; 48 Fed. Reg. 5852-01 (Feb. 8, 1983).
                                                      2
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 11 of 33




1    also explains that the Product is “for temporary relief of pain,” “up to 8 hours.” Id. The back of the

2    Product package details the same active ingredient information (“Lidocaine 4%”) and directs that

3    consumers should “remove patch from the skin after at most 8 hours of application.” Id. Defendant

4    further offers “100% satisfaction guaranteed or your money back” on each Product sold. Id.

5           The complete packaging is shown below:

6

7

8

9

10

11

12

13

14

15

16

17          B.      Plaintiff’s Alleged Experience with the Product
18          The entirety of Plaintiff’s alleged purchase and use of the Product is set forth in a single
19   paragraph of the Complaint—the same paragraph that mirrors the factual allegations of another

20   plaintiff’s complaint against another retailer. Plaintiff alleges that she purchased the Product “on

21   various occasions,” most recently in January 2022, from “one of” Defendant’s stores in Alameda

22   County. Compl. ¶ 5. Plaintiff does not allege when she made her first purchase; how many times she

23   purchased the Product; when Plaintiff made her purchases during an unspecified period of time; or

24   how many times Plaintiff used the Product.

25          Plaintiff alleges that she saw three representations before making her “purchases”: that the

26   Product (1) is “maximum strength”; (2) provides “pain-relief”; and (3) does so for “up to 8 hours.”

27   Id. Plaintiff allegedly relied on these representations in purchasing the Product over “comparable and

28
                                                       3
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 12 of 33




1    less expensive” options (which she does not name), and she understood this labeling to mean that the

2    Product, in her view, “would reliably adhere to her body and provide pain relief for up to 8 hours by

3    delivering a maximum strength dose of lidocaine.” Id.

4           At some unknown point in time after her purchases, Plaintiff “became frustrated” because the

5    Product “peeled off her body” while engaging in activities such as “walking, stretching, and sleeping,”

6    less than 8 hours after she applied the patch. Id. As such, Plaintiff claims the Product “failed to provide

7    pain relief” lasting “anywhere close” to 8 hours; on a “couple of occasions,” the patch “peeled off her

8    body within an hour or two.” Id. Plaintiff alleges that she would not have purchased the Product on

9    the “same terms” given what she knows now, and that she “paid a substantial price premium” in

10   comparison to “less expensive lidocaine patches”—which, again, are not identified in the

11   Complaint—without the “representations.” Id.2 Despite Plaintiff’s “personal experience” with the

12   Product, she alleges she desires to purchase the Product again but is “concerned” about doing so

13   unless Defendant discloses the “actual pharmacological qualities” of the patches. Id. ¶ 6.

14           Plaintiff alleges that Defendant knew that the Product did not “live up to [its] representations

15   based on dozens of complaints posted on its own website.” Compl. ¶ 15. To demonstrate this point,

16   the Complaint provides a so-called “illustrative example” of recent reviews, which, far from being

17   illustrative, selectively-highlights only negative reviews of the Product on Target’s website while

18   filtering out more recent positive reviews, shown below:
19

20

21

22

23

24

25

26

27   2
      Notably, all of these allegations are contained in paragraph 8 of the Bell complaint as well. See
28   O’Boyle Decl., Exs. 5, ¶ 8, Ex. 8.
                                                      4
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
            Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 13 of 33




1

2

3

4

5

6

7    O’Boyle Decl., Ex. 9.

8             Plaintiff further alleges that Defendant knew, or should have known, that its Product was

9    defectively designed based on various FDA reports and scientific studies regarding the efficacy of

10   other lidocaine products and patches. Compl. ¶¶ 16-30. Plaintiff does not allege, however, that she

11   relied on or consulted any of these sources in making her purchasing decisions. Plaintiff also does not

12   allege that she or her counsel conducted any sort of study demonstrating that Defendant’s Product, in

13   particular, cannot provide pain relief for up to 8 hours, and as Plaintiff admits, none of the cited studies

14   or FDA reports concern or address Defendant’s Product. See, e.g., Compl., nn. 3, 4, 5, 6, 7.3

15            Based on her personal disappointment with the Product, Plaintiff seeks to bring claims on

16   behalf of a nationwide and/or California subclass for: (1) violation of the Magnuson-Moss Warranty

17   Act (“MMWA”); (2) violation of California’s False Advertising Law (“FAL”); (3) violation of

18   California’s Consumers Legal Remedies Act (“CLRA”); (4) violation of California’s Unfair
19   Competition Law (“UCL”); and (5) for quasi-contract/unjust enrichment. See Compl. ¶¶ 52-98.

20   III.     MOTION TO DISMISS
21            A.     Legal Standards
22            To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

23

24   3
       Although ultimately irrelevant for purposes of this Motion, many of plaintiff’s “facts” come from a
25   Citizen Petition, filed over three years ago, by a manufacturer of prescription lidocaine patches (Scilex
     Pharmaceuticals) seeking to usurp control of the market from OTC patches by asking the FDA to take
26   regulatory action. See Compl. ¶¶ 20, 26, 30, nn. 8, 13, 17. Yet, to this day, Plaintiff does not allege
     that the FDA has taken any action against Defendant’s Product or dozens of other OTC lidocaine
27   patches, and also omits that a coalition of OTC manufacturers filed a response to the petition
     contesting its merits. See Comment from Consumer Healthcare Products Association (CHPA) (dated
28   July 29, 2019), available at: https://www.regulations.gov/comment/FDA-2019-P-0417-0012.
                                                          5
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 14 of 33




1    factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

2    Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A

3    claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

4    reasonable inference that the defendant is liable for the misconduct alleged.” Id. “Where a complaint

5    pleads facts that are merely consistent with a defendant’s liability, it stops short of the line between

6    possibility and plausibility of ‘entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557). A court

7    may disregard “allegations that are merely conclusory, unwarranted deductions of fact, or

8    unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (citation

9    omitted). “[T]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

10   statements,” do not suffice. Ashcroft, 556 U.S. at 678.

11          In addition, “[i]f a plaintiff lacks Article III standing to bring a suit, the federal court lacks

12   subject matter jurisdiction and the suit must be dismissed under Rule 12(b)(1).” City & Cnty. of San

13   Francisco v. Whitaker, 357 F. Supp. 3d 931, 940 (N.D. Cal. 2018) (citing Cetacean Cmty. v. Bush,

14   386 F.3d 1169, 1174 (9th Cir. 2004)). Given that a facial Rule 12(b)(1) motion is resolved in the same

15   manner as a Rule 12(b)(6) motion, Plaintiff bears the burden of establishing jurisdiction. See Sciacca

16   v. Apple, Inc., 362 F. Supp. 3d 787, 795 (N.D. Cal. 2019).

17          B.      Plaintiff Lacks Standing to Pursue Injunctive Relief or Equitable Remedies
18                  1.      Plaintiff Lacks Standing to Seek Equitable Remedies
19          Plaintiff’s FAL, CLRA, and UCL claims are equitable in nature. See Compl. ¶ 78 (alleging

20   “Plaintiff and the California Subclass members presently only seek injunctive relief under [the

21   CLRA] Count.”); see also Nationwide Biweekly Admin., Inc. v. Superior Court, 9 Cal.5th 279, 322

22   (2020) (“[I]n light of the particular nature of the civil causes of action authorized by the UCL and the

23   FAL, we conclude that the gist of a civil action under the UCL and the FAL is equitable rather than

24   legal in nature.”). Plaintiff’s Quasi-Contract/Unjust Enrichment claim is also equitable in nature. See

25   Compl. ¶ 98 (alleging that “Defendant’s retention of the non-gratuitous benefits conferred on them

26   by Plaintiff and Class members is unjust and inequitable” [sic]); see also Sharma v. Volkswagen AG,

27   524 F. Supp. 3d 891, 909 (N.D. Cal. 2021) (explaining that an unjust enrichment claim is equitable).

28
                                                         6
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 15 of 33




1           To survive a motion to dismiss such equitable claims, Plaintiff must establish that she lacks

2    an adequate remedy at law. Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020);

3    see also Sharma, 524 F. Supp. 3d at, 907 (N.D. Cal. 2021) (dismissing CLRA, UCL and unjust

4    enrichment claims because the plaintiffs had not shown that legal remedies are unavailable or

5    inadequate). Plaintiff, however, expressly seeks legal remedies in the form of compensatory and

6    punitive damages. See Compl. at 25 (“Prayer for Relief”) & ¶¶ 62, 69. Where, as here, “the claims

7    pleaded by [Plaintiff] may entitle her to an adequate remedy at law, equitable relief is unavailable.”

8    Rhynes v. Stryker Corp., 2011 WL 2149095, at *4 (N.D. Cal. May 31, 2011).

9                   2.      Plaintiff Lacks Standing to Seek Injunctive Relief – FRCP 12(b)(1)
10          Plaintiff lacks Article III standing to seek injunctive relief under the FAL and CLRA.4 A

11   plaintiff cannot represent a class seeking injunctive relief unless she herself is entitled to such relief.

12   Villa v. Maricopa Cnty., 865 F.3d 1224, 1229 (9th Cir. 2017). To seek injunctive relief, Plaintiff must

13   show an “actual and imminent” threat of injury, not a “conjectural or hypothetical” one. Summers v.

14   Earth Island Inst., 555 U.S. 488, 493 (2009). A plaintiff-consumer “may establish the risk of future

15   harm in two ways: (1) “the consumer’s plausible allegations that she will be unable to rely on the

16   product’s advertising or labeling in the future, and so will not purchase the product although she

17   would like to”; or (2) “the consumer’s plausible allegations that she might purchase the product in the

18   future, despite the fact it was once marred by false advertising or labeling, as she may reasonably, but
19   incorrectly, assume the product was improved.” Davidson v. Kimberly-Clark Corp., 889 F.3d 956,

20   969-70 (9th Cir. 2018).

21          Plaintiff’s generic allegations concerning her future intent do not pass the Davidson test. As

22   an initial matter, Plaintiff’s professed future intent is implausible, as it is not this specific Product’s

23   labeling with which Plaintiff broadly takes issue, but Plaintiff’s alleged concerns regarding “efficacy”

24   and “health-related risks” for OTC lidocaine patches generally. Compl. ¶ 6. Thus, even if the

25   statements Plaintiff challenges—“pain-relief,” “maximum strength,” or “up to 8 hours”—were

26
     4
27    Because Plaintiff’s CLRA claim hinges on her request for injunctive relief, the Court should dismiss
     this claim in its entirety. See Compl. ¶ 78 (alleging “Plaintiff and the California Subclass members
28   seek only injunctive relief under [the CLRA] count”).
                                                        7
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 16 of 33




1    removed from the Product’s label, Plaintiff does not plausibly allege that she would purchase this or

2    any other OTC lidocaine patch in the future. If, for example, Plaintiff actually believes “maximum

3    strength” includes comparison to a “prescription strength lidocaine patch[],” Compl. ¶ 29, then

4    Defendant’s OTC patch clearly does not qualify.

5           Even if Plaintiff could allege a plausible intent to purchase Defendant’s Product in the future,

6    she cannot allege any “actual and imminent” risk of future harm from the Product labeling. Plaintiff

7    has not—and cannot—plausibly allege that she has no way of determining whether the Product

8    representations are true. See, e.g., Cimoli v. Alacer Corp., 546 F. Supp. 3d 897, 907 (N.D. Cal. 2021)

9    (finding the plaintiff lacked standing because the plaintiff knew he could determine the product’s

10   dosages by consulting the back labels). In particular, Plaintiff alleges she will be unable to “make

11   informed decisions” about whether to purchase the Product unless the “actual pharmacological

12   qualities” of the patches are disclosed on the label. Compl. ¶ 6. If that is so, then Plaintiff can simply

13   look at the Product labeling and determine, based on what she allegedly knows now, whether or not

14   her subjective “pharmacological” disclosure standard has been met. Because Plaintiff can “easily

15   discover” whether Defendant has cured the alleged misrepresentations without purchasing the

16   Product, Plaintiff lacks standing to seek injunctive relief. See Shanks v. Jarrow Formulas, Inc., 2019

17   WL 7905745, at *5 (C.D. Cal. Dec. 27, 2019) (finding the plaintiff lacked standing because “in the

18   future [the plaintiff can] simply look at the label on Defendant’s coconut oil . . . and put it
19   back.”); Matic v. United States Nutrition, Inc., 2019 WL 3084335, at *8 (C.D. Cal. Mar. 27,

20   2019) (finding the plaintiff lacked standing because “he knows precisely where to find” clarifying

21   information on the product’s label). Absent a plausible alleged risk of future harm, Plaintiff’s claims

22   for injunctive relief under the FAL and CLRA must be dismissed.

23          C.      Plaintiff Has Not Plausibly Alleged a Statutory Consumer Claim
24          In addition to her lack of standing to seek injunctive or equitable relief, Plaintiff fails to plead

25   a plausible claim under the FAL, CLRA or UCL. All three claims should be dismissed because

26   Plaintiff fails to allege: (1) a plausible theory of consumer deception based on the literally-true

27   Product labeling; (2) that Defendant omitted from disclosure any material facts or has a duty to

28
                                                         8
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 17 of 33




1    disclose additional facts; (3) statutory standing to bring claims under the FAL and UCL absent any

2    real economic injury; and (4) any additional facts supporting a claim under the unfair or unlawful

3    prongs of the UCL (given the infirmities with Plaintiff’s consumer deception theory).

4                   1.      Fraud-Based Claims under FAL, CLRA, and UCL
5           Plaintiff’s primary theory under the FAL, CLRA and UCL is one of consumer deception—

6    i.e., that Defendant’s conduct is “‘likely to deceive’ a ‘reasonable consumer.’” Eidmann v. Walgreen

7    Co., 522 F. Supp. 3d 634, 643 (N.D. Cal. 2021) (quoting Williams v. Gerber Prods. Co., 552 F.3d

8    934, 938 (9th Cir. 2008)). Plaintiff fails, however, to plead a plausible theory of consumer deception.

9           The “reasonable consumer” test applicable to all three of these statutes “requires more than a

10   mere possibility that [a] label might conceivably be misunderstood by some few consumers viewing

11   it in a reasonable manner.’” Id. (quoting Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496, 508

12   (2003)). Instead, the reasonable consumer standard “requires a probability ‘that a significant portion

13   of the general consuming public ... could be misled.’” Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th

14   Cir. 2016) (quoting Lavie, 105 Cal. App. 4th at 495). Context is key. When evaluating a statement

15   under this test, “the question is how a reasonable consumer would interpret [statements] in the context

16   of the specific commercial interaction that Plaintiff has challenged.” Becerra v. Dr. Pepper/Seven Up,

17   Inc., 2018 WL 3995832, at *4 (N.D. Cal. Aug. 21, 2018) (internal quotation marks omitted), aff’d,

18   94 F.3d 1225 (9th Cir. 2019) (emphasis added). This “context” defeats Plaintiff’s attempt to plead an
19   implausible claim here, because Plaintiff cannot show that a “significant portion” of the consuming

20   public would be misled by the challenged statements.

21                          a.     “Maximum Strength” Is Not False, Deceptive, or Misleading
22          Plaintiff first challenges the “maximum strength” statement on the Product’s label, but

23   describing the Product as “maximum strength” is not false, deceptive, or misleading in context. It is

24   literally true. The strength of the active ingredient, “Lidocaine 4%,” is the maximum strength

25   available for lidocaine patch OTC products. See Compl. ¶ 24 (citing 48 Fed. Reg. at 5867, which

26   provides for OTC Lidocaine products at concentrations of 0.5 to 4 percent)); see also 21 C.F.R.

27   § 210.3(b)(16)(i) (“Strength means . . . “concentration of the drug substance.”). Despite this literal

28
                                                       9
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 18 of 33




1    truth, Plaintiff claims that the “maximum strength” statement is misleading because the Product:

2    (1) “does not contain or deliver the maximum amount of lidocaine available in the market”; and (2) is

3    not superior or “at least equivalent” in efficacy to other “over-the-counter and/or prescription strength

4    lidocaine patches”; and (3) does not deliver “a greater dose of lidocaine” compared to other OTC

5    options. Compl. ¶¶ 13, 29, 30. None of these contentions have merit.

6           First, Plaintiff’s allegation that she read “maximum strength” to include the “maximum
7    amount” of lidocaine available with a prescription is implausible and unreasonable. Construing “the

8    market” to include prescription-strength products containing a higher concentration of lidocaine

9    disregards the context of the specific commercial transaction. See Becerra, 2018 WL 3995832, at *4.

10   There is no allegation that Plaintiff had a prescription for a lidocaine patch; to the contrary, she

11   allegedly purchased the Product several times over the counter at a retail store, not a pharmacy. Any

12   reasonable consumer purchasing an OTC lidocaine patch off the shelf at a Target store would

13   understand “maximum strength” to be referring, if anything, to other OTC products, sitting on the

14   same retail shelf, and would not presume that an OTC product contains or delivers more lidocaine

15   than a prescription-strength product.

16          Second, Plaintiff’s interpretation of “maximum strength” to mean the Product is “superior, or
17   at least equivalent, in efficacy and results” to prescription-strength lidocaine patches must also be

18   disregarded. In fact, the Product contains no representation whatsoever comparing “efficacy” or
19   “results” to any other product, much less a prescription product. Instead, the front label of the Product

20   suggests that consumers “[c]ompare to active ingredients” in another OTC, brand-name lidocaine
21   patch (which not surprisingly contains the same concentration of lidocaine and also prominently

22   displays on its packaging that the patch is “maximum strength”). Compare O’Boyle Decl., Ex. 1 with

23   Ex. 10. Any reasonable consumer purchasing a generic OTC lidocaine patch would understand that

24   “compare” means “to represent as similar” or “to view in relation to”—not “superior to.” O’Boyle

25   Decl., Ex. 2. Plaintiff does not allege that the comparison actually presented on the Product’s

26   packaging—to active ingredients in other OTC products with the same concentration of lidocaine—

27   is misleading or false in any way.

28
                                                        10
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 19 of 33




1           Third, Plaintiff’s contention that the Product is not “maximum strength” because it does not
2    contain or deliver “a greater dose of lidocaine in comparison to other over-the-counter lidocaine

3    products” is nonsensical. Compl. ¶ 30 (emphasis added). Again, Plaintiff does not challenge the literal

4    truth of the “4% lidocaine” disclosure on the Product’s packaging or the fact that this is the maximum

5    strength available for the OTC product, and the Product does not promise a “greater” dose of lidocaine

6    compared to other OTC products. Instead, Plaintiff appears to allege that because other OTC patches

7    contain greater total amounts of lidocaine per patch, that means the Product is not “maximum

8    strength.” Compl. ¶ 30, nn. 16-17. But as a reasonable consumer in the marketplace would quickly

9    realize, any OTC lidocaine patch product is marketed and sold on the basis of the concentration of

10   lidocaine, not absolute amount. The FDA requires this. See 21 C.F.R. § 201.66(c)(2) (instructing that

11   labels must “state the proportion (rather than the quantity) of each active ingredient.”) (emphasis
12   added). In short, the Product truthfully represents that it is “maximum strength” and “comparable” to

13   another OTC lidocaine patch of the same lidocaine concentration.

14          Courts in this district have dismissed similar claims pertaining to the strength of an OTC

15   product. See Eidmann, 522 F. Supp. 3d at 634; Lokey v. CVS Pharmacy, Inc., 2020 WL 6822890

16   (N.D. Cal. Nov. 20, 2020). In Eidmann and Lokey, the plaintiffs alleged the labeling of “Infants’ Pain

17   & Fever Acetaminophen” misled them to believe that the products were specially formulated for

18   infants, when the formulations for the product and “Children’s Pain & Fever Acetaminophen” for
19   “Ages 2-11 Years” were the same. See Eidmann, 522 F. Supp. 3d at 639-40; Lokey, 2020 WL

20   6822890, at *1-2. The courts evaluated the alleged misrepresentations in the context of the product’s

21   full packaging—including the front labeling that prominently displayed the drug concentration—and

22   determined that a consumer could see the concentration was identical to the children’s products by

23   looking at the labeling. Eidmann, 522 F. Supp. 3d at 643-46; Lokey, 2020 WL 6822890, at *4-5.

24          As in Eidmann and Lokey, here, “‘[w]hat ultimately dooms Plaintiff’s claims is that Defendant

25   tells the consumer exactly what she is getting.’” Eidmann, 522 F. Supp. 3d at 645 (quoting Dinan v.

26   Sandisk LLC, 2019 WL 2327923, at *7 (N.D. Cal. May 31, 2019); Lokey, 2020 WL 6822890, at *5

27   (concluding that the product’s labeling was not deceptive because it showed the composition of the

28
                                                       11
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 20 of 33




1    medication, and thus, “the plaintiff’s subjective interpretation fail[ed] the reasonable-consumer test”).

2    The Product prominently displays the concentration of lidocaine. The front label further directs

3    customers to compare the active ingredient in the Product to the active ingredient in another OTC

4    lidocaine patch. Plaintiff cannot ignore and distort context, common sense, and FDA regulations to

5    manufacture FAL, CLRA, and UCL claims.5

6                           b.      “Pain-Relief” Is Not False, Deceptive, or Misleading
7           A reasonable consumer would not be misled by the term “pain-relief.” “Pain-relief” simply

8    states the purpose of the Product, and critically, Plaintiff does not allege that the Product fails to

9    provide any pain relief at all. Instead, Plaintiff alleges that the Product “consistently failed to provide

10   pain relief anywhere close to the represented 8 hours” or to “continuously relieve pain.” Compl. ¶¶ 5,

11   14. Plaintiff again challenges a straw man: the Product does not promise a specific time period for

12   which pain relief will be provided (addressed below) or represent that it will “continuously” relieve

13   pain for all users. The front label simply describes the Product as “pain-relief patches” that are “for

14   temporary relief of pain.” O’Boyle Decl., Ex. 1. Plaintiff’s allegations do not show that a “significant
15   portion of the general consuming public” could be misled by the phrase “pain-relief” on a pain-relief

16   patch. Ebner, 838 F.3d at 965.

17                          c.      “Up to 8 Hours” Is Not False, Deceptive or Misleading
18          Plaintiff next contends that “up to 8 hours” means that the Product “continuously adhere[s]”
19

20   5
       Plaintiff will likely raise Judge Tigar’s decisions in Scilex Pharms. Inc. v. Sanofi-Aventis U.S. LLC,
21   552 F. Supp. 3d 901 (N.D. Cal. 2021), Hrapoff v. Hisamitsu Am., Inc., No. 21-CV-01943-JST, 2022
     WL 2168076 (N.D. Cal. June 16, 2022) and Ablaza v. Sanofi Aventis US LLC, 4:21-cv-01942-JST,
22   Dkt. No. 66 (N.D. Cal. July 12, 2022) in an attempt to support her claims. For a host of reasons, these
     decisions are not persuasive and are distinguishable from the facts alleged here. First, Scilex, is a
23   Lanham Act case brought by a prescription lidocaine patch manufacturer against OTC competitors.
     See 552 F. Supp. 3d at 909. Second, Scilex, Hrapoff, and Ablaza concern different defendants,
24   different products with different labeling. Third, whereas the representations at issue in the cases
     before Judge Tigar involve direct comparisons between OTC lidocaine products and a prescription
25   product, neither Defendant nor the Product’s labeling here make any claims about or references to
     prescription products. Fourth, in all three cases, defendant Hisamitsu relied on a “disclaimer” on the
26   back of its labeling—Defendant does not rely on a disclaimer on the back of the Product’s labeling
     here. Fifth, neither Hrapoff nor Ablaza contains a substantive analysis of the term “maximum
27   strength”—instead the court simply adopted its own analysis from Scilex without applying the
     “reasonable consumer” test required under binding California law. Hrapoff, 2022 WL 2168076, at
28   *7; Ablaza, Dkt. No. 66, pp. 6-7.
                                                         12
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 21 of 33




1    for “8 hours” and “provide[s] pain relief” throughout that time period. Compl. ¶¶ 12, 14. Plaintiff’s

2    interpretation is again objectively unreasonable. The Product’s labeling states: “up to 8 hours”—this

3    is a ceiling, not a floor, for appropriate use of the Product. O’Boyle Decl., Ex. 1. Plaintiff improperly

4    conflates “up to” with “at least.” These terms are distinct. “Up to” is “used as a function word to
5    indicate a limit or boundary.” O’Boyle Decl., Ex. 3. In contrast, “at least” means “not less than; at
6    the minimum.” O’Boyle Decl., Ex. 4. A reasonable consumer would not plausibly read “up to” as

7    guaranteeing a minimum amount of time for adhesion / pain relief.

8           Plaintiff’s unreasonable interpretation disregards important labeling information as well. The

9    Product’s directions, which Plaintiff allegedly read (Compl. ¶ 5), instruct users to “remove patch from

10   the skin after at most 8 hours of application.” O’Boyle Decl., Ex. 1. This direction confirms that “up
11   to” is a guideline for the maximum time the Product should be used, and not a warranty or guarantee

12   that the Product will adhere to the skin for 8 hours for every consumer. In fact, there is no language

13   on the Product’s labeling that indicates the Product will “continuously adhere” or “provide pain relief”

14   for a specific period of time. Given the entirety of the Product’s labeling, any reasonable consumer

15   would understand the “up to” language as a direction referring to the maximum—not the minimum—
16   amount of time the Product should or could be used.

17          Finally, even accepting Plaintiff’s implausible and unreasonable reading of “up to 8 hours,”

18   Plaintiff’s generic allegations do not show that this statement is false or misleading. Plaintiff does not
19   cite to any scientific studies or other evidence showing that the Product, in particular, cannot provide

20   pain relief for up to 8 hours. California law requires that claims about a product’s function—like

21   Plaintiff’s claims here—must be supported by scientific studies, articles, or expert opinions. See, e.g.,

22   Tubbs v. AdvoCare Int’l, LP, 2017 WL 4022397, at *5-7 (C.D. Cal. Sept. 12, 2017) (granting motion

23   to dismiss complaint where plaintiffs alleged that they did not realize any of the alleged benefits of

24   defendants’ products without allegations of supporting evidence), aff’d, 785 F. App’x 396 (9th Cir.

25   2019); Engel v. Novex Biotech LLC, 2014 WL 5794608, at *3 (N.D. Cal. Nov. 6, 2014) (plaintiff

26   must allege a challenged advertising claim has “actually been disproved” based on “evidence that

27   directly conflicts with the claim”; allegation that an advertisement “lacks evidentiary support” is not

28
                                                        13
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 22 of 33




1    enough), aff’d 689 F. App’x 510 (9th Cir. 2017).

2           The hodgepodge of sources that Plaintiff cites concern prescription lidocaine patch products

3    at best; none of these sources mention Defendant’s Product. See Compl. ¶¶ 16-23.6 Plaintiff’s

4    conclusory, “information and belief” allegation that Defendant’s Product “fair[s] no better” than those

5    analyzed in a single scientific study (Compl. ¶ 20) fails to carry Plaintiff’s burden of alleging facts in

6    support of a plausible misrepresentation claim about Defendant’s Product. See, e.g., Matilock, Inc. v.

7    Pouladdej, 2020 WL 3187198, at *4 (N.D. Cal. June 15, 2020) (Gilliam, Jr., J.) (finding insufficient

8    allegations made “on information and belief” and explaining “Plaintiff must still plead sufficient facts

9    to make a claim plausible as opposed to merely speculative”). In fact, Plaintiff’s allegation is so

10   conclusory that the exact same allegation—including the footnote that accompanies it—appears in a

11   complaint filed by Plaintiff’s counsel in a different case against a different product. See O’Boyle

12   Decl., Ex. 5, ¶ 20. In addition to this glaring shortcoming, Plaintiff’s key scientific study about

13   prescription lidocaine patches concerns, according to the Complaint, the irrelevant data point of

14   adherence “after 12 hours,” and does not compare OTC lidocaine patches at all. Compl. ¶ 19

15   (emphasis added).

16          Accordingly, even under Plaintiff’s implausible interpretation of “up to 8 hours” (which

17   should be rejected in any event), the sources Plaintiff cites do not analyze the Product and cannot

18   demonstrate that Defendant made any false representation of material fact.
19                          d.      Plaintiff’s Allegations Regarding Flexibility Should Be
20                                  Disregarded
21          Lastly, Plaintiff’s Complaint offers misplaced allegations regarding flexibility that do not

22   apply to this case because the Product’s packaging makes no representations about flexibility at all.

23   See Compl. ¶ 5, 14, 23, 34, 65. Plaintiff’s “flexibility” allegations appear to be scraps from actions

24

25   6
       Plaintiff cites to: (1) a presentation on “Product Quality of Transdermal Drug Delivery Systems”
26   that does not mention lidocaine or lidocaine patches once, let alone the Product at issue (see Compl.
     ¶ 17, n.3); (2) a statistic based on FDA adverse event reporting regarding prescription lidocaine patch
27   products (see Compl. ¶ 18, n.4); and (3) a study of adherence for prescription lidocaine patches funded
     by the same prescription lidocaine patch company (Scilex) that filed the citizen petition with FDA
28   and seeks to remove OTC competitors from the market (see Compl. ¶ 19, n. 6.).
                                                        14
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 23 of 33




1    Plaintiff’s counsel brought against other companies. The product labels in those cases included “Stay-

2    put flexible patch” language, and on this basis the plaintiffs alleged that the patches should have been

3    “sufficiently flexible to withstand regular activities.” See O’Boyle Decl., Ex. 7 (complaint filed in

4    Stevens v. Walgreens, 1:21-cv-10603) ¶¶ 10-12, 45, 48, 62, 64, 86, 96, 103; O’Boyle Decl., Ex. 6

5    ¶¶ 3, 4, 5, 8, 12, 13, 20. Plaintiff’s apparently left-over references to “flexibility” here cannot form

6    the basis of any claim against Defendant’s Product.

7                   2.      There Was No Omission of a Material Fact or Duty to Disclose
8           Plaintiff also asserts violations of the FAL, CLRA, and UCL based on an omission theory.

9    See Compl. ¶¶ 65, 71, 88. “A plaintiff may base a claim on an alleged omission if the omitted fact is

10   (1) contrary to a [material] representation actually made by the defendant or (2) is a fact the defendant

11   was obligated to disclose.” Eidmann, 522 F. Supp. 3d at 646. Defendant did not omit any fact contrary

12   to a material representation, and it had no obligation to disclose any fact.

13                          a.      Defendant Did Not Omit Any Fact Contrary to a Material
14                                  Representation
15          Plaintiff alleges that she relied on Defendant’s representations that the Product provided

16   “pain-relief” using a “maximum strength” dose of lidocaine for “up to 8 hours” when she decided to

17   purchase the Product. Compl. ¶ 5. Therefore, the question is whether the purported omitted facts that

18   the Product: (1) fails to adhere to its consumers’ bodies for 8 hours; (2) is insufficiently flexible to
19   withstand regular activities; (3) fails to continuously relieve pain throughout the specified amount of

20   time represented therein due to partial or complete detachment; (4) does not contain or deliver the

21   maximum amount of lidocaine available in the market; and (5) is not superior, or at least equivalent,

22   in efficacy and results to other OTC and/or prescription-strength lidocaine patches, are contrary to

23   the representations on the Product’s labeling. Compl. ¶ 14. The only answer to this question is “No.”
24          First, whether the Product adheres less than 8 hours or not does not change the fact that the

25   Product should be used for only “up to 8 hours”—as the Product’s labeling instructs. Second, the

26   flexibility of the Product has no bearing on the Product’s “pain-relief”, “maximum strength” or “up

27   to 8 hours” labeling. Third, whether or not the Product “continuously” relieves pain does not

28
                                                        15
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 24 of 33




1    contradict the “pain-relief patches” description on the front label. Fourth, that prescription-strength

2    lidocaine products have a higher concentration of lidocaine in no way impacts the fact that the Product

3    purchased by Plaintiff contains the maximum amount of lidocaine for any OTC product. Fifth, the

4    milligram weight of lidocaine in other OTC products is irrelevant—the maximum concentration of

5    4% lidocaine remains the maximum available in any OTC product. Plaintiff has not alleged a single

6    fact contrary to the representations on the Product’s labeling.

7                           b.      Defendant Was Not Obligated to Disclose Any Omitted Fact
8           Plaintiff does not allege that Defendant was obligated to disclose any of the alleged “facts”

9    discussed in the preceding section. Nor could Plaintiff make such an allegation; such a disclosure is

10   not required under California law.

11          “The duty to disclose arises: (1) when the defendant is the plaintiff’s fiduciary; (2) when the

12   defendant has exclusive knowledge of material facts not known or reasonably accessible to the

13   plaintiff; (3) when the defendant actively conceals a material fact from the plaintiff; and (4) when the

14   defendant makes partial representations that are misleading because some other material fact has not

15   been disclosed.” Eidmann, 522 F.Supp.3d at 646. Plaintiff does not allege a single one of these

16   elements. There is no allegation that Defendant was Plaintiff’s fiduciary. Nor is there an allegation

17   that Defendant had “exclusive knowledge of material facts not known or reasonably accessible” to

18   Plaintiff. To the contrary, the Complaint cites various public sources that Plaintiff alleges support her
19   complaints about the Product. See, e.g.,Compl. ¶¶ 15-23. Additionally, there is no allegation that

20   Defendant actively concealed any material fact or made a partial representation that is misleading

21   because some other material fact was not disclosed. Because Defendant did not omit any fact contrary

22   to the allegedly material representations on the Product’s labeling and there was no other duty to

23   disclose, Plaintiff’s omission theory fails.

24                  3.      Plaintiff Lacks Statutory Standing Under the FAL and UCL
25          Plaintiff also fails to meet the standing requirement under the FAL and UCL. Under these

26   statutes, standing is limited to any ““person who has suffered injury in fact and has lost money or

27   property’” as a result. Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 320–21 (2011) (quoting Cal.

28
                                                        16
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 25 of 33




1    Bus. & Prof. Code §§ 17204, 17535). To establish standing, Plaintiff must show: (1) “a loss or

2    deprivation of money or property sufficient to qualify as injury in fact, i.e., economic injury,” and (2)

3    that “[the] economic injury was the result of, i.e., caused by, the unfair business practice or false

4    advertising.” Id. at 322 (emphasis in original). “[A]s a result of” “requires a showing of a causal

5    connection or reliance on the alleged misrepresentation.” Id. at 326 (internal quotation marks and

6    citation omitted).7

7           Plaintiff fails to show such an economic injury here, because Plaintiff’s claim that she “paid

8    a substantial price premium” is factually unsupported. Plaintiff fails to offer a price comparison to

9    any non-“maximum strength” lidocaine products. See Compl. ¶ 5. Plaintiff additionally fails to

10   identify any “less expensive” comparable product sold by Defendant (or any other retail outlet) to

11   support her claim that Defendant “charge[s] a premium for the ‘maximum strength,’ or durational

12   representations contained in [the Product].” Compl. ¶ 31. The Complaint leaves it entirely unclear

13   how Plaintiff lost any money as a result of the statements on the Product’s labeling. Plaintiff also

14   completely ignores that Defendant promises “100% satisfaction guaranteed or your money back”

15   right on the package itself. O’Boyle Decl., Ex. 1. Therefore, even if Plaintiff had lost money as a

16   result of the representations on the Product’s labeling, Plaintiff simply could have received a refund

17   of the $7.99 purchase price. Because Plaintiff fails to allege facts plausibly showing that she suffered

18   any economic injury, Plaintiff lacks statutory standing under the FAL and UCL.
19                  4.      Plaintiff also Fails to State a Claim Under The Unlawful and Unfair
20                          Prongs of the UCL
21          Plaintiff further alleges that “as a result of its violations of the CLRA, FAL, and the

22   Magnuson-Moss Warranty Act,” Defendant has violated the unlawful prong of the UCL. Compl.

23   ¶ 82. “[A] claim under this prong hinges upon whether a plaintiff can formulate a claim under the

24   predicate law.” Eidmann, 522 F. Supp. 3d at 647. Plaintiff’s CLRA and FAL claims fail for the

25   reasons discussed supra, in Section C(1), and Plaintiff’s MMWA claim fails for the reasons discussed

26
     7
27     As discussed supra, Plaintiff challenges only three specific representations on the Product’s
     packaging. She lacks standing to challenge any other representations that she does not allege she
28   relied upon.
                                                   17
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 26 of 33




1    infra, in Section D—i.e., the Court lacks jurisdiction over the MMWA claim and Plaintiff has failed

2    to plead an underlying violation of state warranty law—thus, “the UCL claim also fails.” Id. (internal

3    quotation marks and citations omitted).

4           Plaintiff’s claim under the unfair prong fails for similar reasons. “In this District, when

5    plaintiff’s claim under the unfair prong overlaps entirely with the conduct alleged in the fraudulent

6    and unlawful prongs of the UCL, ‘the unfair prong of the UCL cannot survive if the claims under the

7    other two prongs ... do not survive.’” Eidmann, 522 F.Supp.3d at 647 (quoting Hadley v. Kellogg

8    Sales Co., 243 F. Supp. 3d 1074, 1105 (N.D. Cal. 2017)). Plaintiff alleges that “Defendant’s acts,

9    omissions, misrepresentations, practices and non-disclosures” violate the unfair prong of the UCL.

10   Compl. ¶ 83. The claim, in other words, consists entirely of the allegations proffered to support

11   Plaintiff’s claim under the fraudulent prong of the UCL. See Compl. ¶ 86. Therefore, for the same

12   reasons Plaintiff’s UCL claim fails under the fraudulent and unlawful prongs, Plaintiff’s UCL claim

13   under the unfair prong fails as well.

14          D.      Plaintiff Fails to State a Magnuson-Moss Warranty Act Claim
15                  1.      The Court Lacks Jurisdiction over Plaintiff’s MMWA Claim
16          Plaintiff asserts a cause of action under the MMWA on behalf of herself and the putative class.

17   See Compl. ¶¶ 52-62. Pursuant to 15 U.S.C. section 2310, “no claim shall be cognizable” in a suit

18   brought under the MMWA, (1) “if the amount in controversy of any individual claim is less than
19   the sum or value of $25”; (2) “if the amount in controversy is less than the sum or value of $50,000

20   (exclusive of interests and costs) computed on the basis of all claims to be determined in this suit”;

21   or (3) “if the action is brought as a class action, and the number of named plaintiffs is less than

22   one hundred.” 15 U.S.C. § 2310(2)(d)(3). Plaintiff fails to meet the amount in controversy for an

23   individual claim and the one hundred named plaintiff requirements.

24          First, Plaintiff merely alleges that she “purchased Defendant’s [Product] for her personal use

25   for approximately $7.99 on various occasions within the applicable statute of limitations, with her

26   most recent purchase taking place on or about January of 2022.” Compl. ¶ 5. In order to meet the

27   amount in controversy requirement for an individual MMWA claim, Plaintiff must have purchased

28
                                                      18
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 27 of 33




1    the product more than three times. See 15 U.S.C. § 2310(2)(d)(3)(A). But Plaintiff does not allege the

2    quantity of the Product she purchased on these “various occasions,” the number of “various

3    occasions” when she purchased the Product, or that she purchased at least $25 worth of the Product

4    (or 3+ patches). Therefore, her individual MMWA claim must be dismissed.

5           Second, “[t]he text is clear that a requirement for an MMWA class action in federal court is

6    at least one hundred named plaintiffs.” Floyd v. Am. Honda Motor Co., 966 F.3d 1027, 1034 (9th Cir.

7    2020). Here, there is only one named plaintiff. In an attempt to plead around the 100 plaintiffs

8    requirement, Plaintiff alleges “15 U.S.C. § 2310(d) is satisfied because Plaintiff properly invokes

9    jurisdiction under the Class Action Fairness Act (‘CAFA’).” Compl. ¶ 53. However, the Ninth Circuit

10   rejected this theory in Floyd, holding that “CAFA may not be used to evade or override the MMWA’s

11   specific numerosity requirement.” Floyd, 966 F.3d at 1035. Plaintiff’s MMWA class allegations are

12   improper and must be dismissed.

13                  2.     Plaintiff’s MMWA Claim Must Be Dismissed Because Plaintiff Has
14                         Failed to Plead an Underlying Violation of State Warranty Law
15          The MMWA authorizes consumers to enforce the terms of express or implied warranties. 15

16   U.S.C. §§ 2301, et seq. The MMWA “‘calls for the application of state written and implied warranty

17   law, not the creation of additional federal law,’ except in specific instances in which it expressly

18   prescribes a regulating rule.” Daugherty v. Am. Honda Motor Co., 144 Cal. App. 4th 824, 833 (2006),
19   as modified Nov. 8, 2006 (quoting Walsh v. Ford Motor Co., 807 F.2d 1000, 1012 (D.C. Cir. 1986));

20   see also Clemens v. DaimlerChrysler Corp., 534 F.3d 1017, 1022 (9th Cir. 2008) (claims under the

21   MMWA “stand or fall with ... express and implied warranty claims under state law.”). Because

22   Plaintiff fails to allege any state law warranty claim (or any viable claim at all), the MMWA must be

23   dismissed.

24          E.      Plaintiff Fails to State a Quasi-Contract/Unjust Enrichment Claim
25          As an initial matter, “[t]here is generally ‘no cause of action in California

26   for unjust enrichment.’” Smith v. Keurig Green Mountain, Inc., 393 F. Supp. 3d 837, 848 (N.D. Cal.

27   2019) (Gilliam, Jr., J.) (quoting Ib Melchior v. New Line Prods., Inc., 106 Cal.App.4th 779, 131 Cal.

28
                                                      19
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
           Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 28 of 33




1    Rptr. 2d 347, 357 (2003)). Nonetheless, the Ninth Circuit “has construed the common law to allow

2    an unjust enrichment cause of action through quasi-contract.” ESG Capital Partners, LP v. Stratos,

3    828 F.3d 1023, 1038 (9th Cir. 2016). To allege such a claim, a plaintiff “must show that the defendant

4    received and unjustly retained a benefit at the plaintiff’s expense.” Id.

5              As with Plaintiff’s FAL, CLRA, and UCL claims, her unjust enrichment/quasi-contract claim

6    is premised on the notion that Defendant “failed to disclose that the [Product was] unfit for [its]

7    intended purpose as an analgesic for sore muscles” and that Plaintiff and the putative class “would

8    not have purchased the [Product] if the true facts were known.” Compl. ¶ 97. For the same reasons

9    discussed supra, Plaintiff has not adequately alleged facts supporting this theory of “unfitness,” and

10   her claim fails. Courts routinely dismiss unjust enrichment claims that merely piggyback on statutory

11   claims. See Robie v. Trader Joe’s Co., 2021 WL 2548960, at *7 (N.D. Cal. June 14, 2021) (where a

12   plaintiff “fails to identify any independent theory of unjust enrichment that does not rise or fall with

13   her [other] claims,” and those claims fail, the unjust enrichment claim must also fail); Vallarta v.

14   United Airlines, Inc., 497 F. Supp. 3d 790, 810 (N.D. Cal. 2020) (Gilliam, Jr., J.) (dismissing unjust

15   enrichment claim premised on the same theory as UCL claim).

16             In addition, Plaintiff fails to allege facts showing that Defendant’s retention of Plaintiff’s

17   payment for the Product is unjust. Plaintiff received the Product she purchased, which provides “pain-

18   relief,” is “maximum strength” for an OTC product, and may be used for “up to 8 hours.” There is no
19   wrongful retention of a benefit at Plaintiff’s expense. And, given the Product’s money back guarantee,

20   if Plaintiff truly was dissatisfied with the Product, she could have received a full refund, yet she does

21   not allege ever having sought one. The unjust enrichment claim should be dismissed.

22             F.     Plaintiff’s Request for Punitive Damages Must Be Dismissed
23             The Complaint’s prayer includes a boilerplate and unsupported request for punitive damages.

24   See Compl., Prayer ¶ (c). Such a boilerplate request for punitive damages—based on claims that do

25   not support recovery of such damages—should be dismissed under Rule 12(b)(6).8 Davis v. Capitol

26   Recs., LLC, 2013 WL 1701746, at *7 (N.D. Cal. Apr. 18, 2013) (citing Whittlestone, Inc. v. Handi–

27
     8
28       Alternatively, Defendant moves to strike Plaintiff’s prayer for punitive damages under Rule 12(f).
                                                        20
                      DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                      MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                       MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 29 of 33




1    Craft Co., 618 F.3d 970, 974 (9th Cir. 2010)). Even if punitive damages were recoverable, Plaintiff

2    fails to plead her request for punitive damages with particularity.

3                    1.     Punitive Damages Are Not Recoverable Under Plaintiff’s Claims as Pled
4            Punitive damages are not recoverable under the FAL or UCL. See Calagno v. Rite Aid Corp.,

5    2020 WL 6700451, at *4 (N.D. Cal. Nov. 13, 2020); In re Wal-Mart Stores, Inc. Wage & Hour Litig.,

6    505 F. Supp. 2d 609, 620 (N.D. Cal. 2007) (“Where a right is created by statute and the statute does

7    not expressly permit punitive damages, punitive damages under California Civil Code section 3294

8    are not available.”). Plaintiff seeks only injunctive relief under the CLRA (Compl. ¶ 78), and no

9    damages of any kind. See Roper v. Big Heart Pet Brands, Inc., 510 F. Supp. 3d 903, 926 (E.D. Cal.

10   2020) (finding plaintiff had no right to seek punitive damages where the CLRA claim “seeks only

11   injunctive relief”).

12           Similarly, restitution is the remedy for alleged unjust enrichment; punitive damages are not

13   available as a matter of law. See Goel v. Coal. Am. Holding Co. Inc, 2011 WL 13128300, at *9 (C.D.

14   Cal. July 5, 2011); Lansmont Corp. v. SPX Corp., 2011 WL 2463281, at * (N.D. Cal. June 20, 2011)

15   (“Unjust enrichment is an equitable claim....”). Nor does the MMWA allow for punitive damages.

16   See Kelly v. Fleetwood Enters., Inc., 377 F.3d 1034, 1039 (9th Cir. 2004). While theoretically punitive

17   damages could be recovered under an underlying state’s warranty law in an exceptionally unusual

18   case, Plaintiff has failed to allege any state warranty law(s) supporting her MMWA claim and thus
19   punitive damages are unavailable under this claim as well.

20                   2.     Plaintiff Fails to Plead a Request for Punitive Damages with
21                          Particularity
22           California Civil Code section 3294 provides for the recovery of punitive damages only if

23   “oppression, fraud, or malice” is proven by “clear and convincing evidence.” Even at the pleading

24   stage, Plaintiff must allege specific facts with particularity, as opposed to accusations and

25   conclusions, demonstrating clear circumstances of malice, oppression, or fraud to be entitled to such

26   relief. Grieves v. Superior Court, 157 Cal. App. 3d 159, 166-167 (1984). A plaintiff must allege

27   “despicable conduct” which is “so vile, base, contemptible, miserable, wretched or loathsome that it

28
                                                       21
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
           Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 30 of 33




1    would be looked down upon and despised by ordinary decent people,” in addition to a “highly

2    culpable state of mind.” Mack v. Mich. Millers Mut. Ins. Co., 4 Cal. App. 4th 306, 331 (1992).

3    Plaintiffs must set forth facts demonstrating an evil motive and intent to injure; mere conclusions are

4    not adequate. Twombly, 127 S. Ct. at 1964-65.

5            Plaintiff does not even attempt to meet this heightened pleading standard. The Complaint lacks

6    particularized (let alone boilerplate allegations) that Defendant acted with oppression, fraud, or

7    malice, and Plaintiff also fails to allege that any individual committed willful and malicious conduct.

8    Her prayer for punitive damages must be dismissed. See Robinson v. J.M. Smucker Co., 2019 WL

9    2029069, at *7 (N.D. Cal. May 8, 2019) (Gilliam, Jr., J.) (granting motion to dismiss the prayer for

10   punitive damages where complaint did not allege that any individual acted willfully and maliciously).

11   IV.     DEFENDANT MOVES TO STRIKE THE PUBLICATIONS AND CITIZEN
12           PETITION CITED IN THE COMPLAINT
13           In addition to disregarding irrelevant allegations that do not support a plausible claim, the

14   Court should strike immaterial and impertinent allegations regarding other lidocaine products. Under

15   Rule 12(f), “a district court ‘may strike from a pleading an insufficient defense or any redundant,
16   immaterial, impertinent, or scandalous matter.’” Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970,

17   973 (9th Cir. 2010) (quoting Fed. R. Civ. P. 12(f)). “‘Immaterial’ matter is that which has no essential

18   or important relationship to the claim for relief or the defenses being pleaded.” Fantasy, Inc. v.
19   Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on other grounds by Fogerty v. Fantasy, Inc.,

20   510 U.S. 517 (1994) (quoting 5 Wright & Miller, Federal Practice and Procedure § 1382, at 706-07

21   (1990)) (internal quotation marks omitted). Similarly, “‘[i]mpertinent’ matter consists of statements

22   that do not pertain, and are not necessary, to the issues in question.” Fantasy, Inc., 984 F.2d at 1527

23   (quoting 5 Wright & Miller, Federal Practice and Procedure § 1382, at 711). Although motions to

24   strike are generally disfavored, in the consumer class action context, courts in this circuit have stricken

25   matter that does not relate to the named plaintiffs or the specific products at issue. See, e.g., Davidson

26   v. Kimberly-Clark Corp., 2014 WL 3919857, at *11-12 (N.D. Cal. Aug. 8, 2014) (striking

27   “allegations citing on-line articles/reports and websites” that did not relate to defendant’s specific

28
                                                         22
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 31 of 33




1    products or to the named plaintiffs).

2            Plaintiff here cannot rely on reports and studies regarding separate and distinct lidocaine

3    products to prove her claims regarding the specific Product at issue in this case. The publications,

4    citizen petition, and amendment to the 1983 TFM cited in footnotes 3, 5, 6, 7, 10, 11, 13, 14, 15, 16,

5    and 17 and paragraphs 27 and 28 on pages 9-13 of the Complaint are irrelevant and immaterial.

6            Pages 9-10 of the Complaint contain a slew of citations to publications regarding other

7    products. Specifically:

8           Plaintiff cites a presentation titled “FDA Perspectives on Product Quality of Transdermal
9            Drug Delivery Systems” in support of her allegations that “[a]ccording to FDA reports, topical

10           delivery systems, such as the one used by Defendant, systematically fail to adhere to the

11           body.” Compl. ¶ 17(emphasis added), n.3. The presentation provides a bold disclaimer:

12           “Views expressed in this presentation are mine, and have not been adopted as regulatory

13           policies by the Food and Drug Administration at this time.”9 And, importantly, the third-

14           party views expressed in the presentation do not address lidocaine patches once, let alone the

15           Product at issue in this case.10

16          Plaintiff cites a Postgraduate Medicine article about FDA approved 5% lidocaine patches and
17           1.8% topical lidocaine in support of her allegation that “[e]ven more alarming, the FDA

18           Adverse Events Reporting System reports that approximately 70% of concerns stemming
19           from lidocaine patches involve their poor adhesion.” Compl. ¶ 18, n.5. However, this statistic

20           relates to prescription-strength 5% lidocaine patches, not OTC 4% lidocaine patches.11

21

22   9
        Yellela S.R. Krishnaiah FDA Perspectives on Product Quality of Transdermal Drug Delivery
23   Systems, PhD Division of Product Quality Research OTR/OPQ/CDER US Food and Drug
     Administration Silver Spring, MD, USA AAPS 2015_Sunrise Session (2015),
24   https://healthdocbox.com/Deafness/74997073-Fda-perspectives-on-product-quality-of-transdermal-
     drug-delivery-systems.html (last accessed Aug. 23, 2022).
     10
25      See, e.g., id. at 6 (discussing quality defects of fentanyl patches); 7 (discussing adhesion failure of
     ADHD patches); 9 (discussing fentanyl patch recall); 10 (discussing product quality issues with
26   patches used to discuss Parkinson’s disease); 32 (discussing cold flow of hormone patches).
     11
        See Gudin J, Nalamachu S. Utility of lidocaine as a topical analgesic and improvements in patch
27   delivery systems. Postgrad Med. 2020;132(1):28–36, p. 33, doi:10.1080/00325481.2019.1702296
     https://www.tandfonline.com/doi/full/10.1080/00325481.2019.1702296 (last accessed Aug. 23,
28   2022).
                                                          23
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
         Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 32 of 33




1          Plaintiff cites studies of the adhesion rates of generic prescription lidocaine patches to support
2           her allegations that Defendant’s Product does not continuously adhere for 8 hours. Compl.

3           ¶¶ 19-20, 22, nn. 6, 7, 11. The studies cited do not even discuss OTC lidocaine patches, let

4           alone study/examine Defendant’s Product, and the statistic Plaintiff cites concerns adhesion

5           “after 12 hours,” not eight. There is no factual basis to conclude the Product even uses the

6           same patch technology as the prescription-strength lidocaine patches examined.

7          Plaintiff cites a study regarding the adhesion of Scilex’s prescription-strength lidocaine
8           patches in support of her assertion “upon information and belief” that Defendant has not

9           “innovated [its] technology based on clinical studies to ensure that [its] lidocaine patches

10          reliably adhere to a consumer’s body.” Compl. ¶ 21, n.10.                   A study allegedly

11          “demonstrate[ing] that Scilex’s lidocaine patches were able to reliably adhere when subjects

12          engaged in moderate physical exercise” has no bearing on the adhesion of Defendant’s

13          Product. Compl., n. 10.

14   Individually and collectively, these citations do not relate to Plaintiff’s claims against Defendant’s

15   Product and should be stricken as immaterial and impertinent.

16          Plaintiff’s citations to Scilex Pharmaceuticals Inc.’s Citizen Petition to support her unfounded

17   allegations that milligrams of lidocaine per patch should be used to measure “Maximum Strength”

18   are also irrelevant and immaterial. See Compl. ¶¶ 26, 30, nn.13, 14, 17. The citizen petition addresses
19   alleged safety concerns over high patch drug loads—not “maximum strength” labeling. Moreover,

20   the milligram measurement proposed by Plaintiff has not been adopted by the FDA and would be

21   improper under FDA regulations.

22          Finally, Plaintiff’s citation to the draft amendment to the 1983 TFM should be stricken. See

23   Compl. ¶¶ 27-28. As Plaintiff acknowledges, the FDA’s discussion of terms such as “regular strength”

24   and “maximum strength” pertain to labeling of OTC hydrocortisone products—not lidocaine patches.

25   Id.; see also External Analgesic Drug Products for Over-the-Counter Human Use; Amendment of

26   Tentative Final Monograph, 55 Fed. Reg. 6932 (Feb. 27, 1990). The Amendment does not mention

27   OTC lidocaine patches at all. Plaintiff fails to explain why the FDA’s guidance on labeling for a

28
                                                       24
                    DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                    MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                     MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
          Case 4:22-cv-02625-HSG Document 21 Filed 08/24/22 Page 33 of 33




1    completely separate family of products is pertinent here. It is not.

2           The Court should strike the irrelevant, immaterial, and impertinent allegations in footnotes 3,

3    5, 6, 7, 10, 11, 13, 14, 15, 16, and 17 and paragraphs 27 and 28 on pages 9-13 of the Complaint.

4    V.     CONCLUSION
5           Plaintiff fails to adequately plead her claims for violations of the FAL, CLRA, UCL, MMWA,

6    and quasi-contract/unjust enrichment. Given that no further factual allegations can remedy the fatal

7    defects in Plaintiff’s Complaint, Defendant requests that the Court dismiss the Complaint with

8    prejudice, pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(6). See Missouri ex rel. Koster v. Harris,

9    847 F.3d 646, 656 (9th Cir. 2017) (quoting Miller v. Rykoff–Sexton, Inc., 845 F.2d 209, 214 (9th Cir.

10   1988)) (“An amendment is futile when ‘no set of facts can be proved under the amendment to the

11   pleadings that would constitute a valid and sufficient claim or defense.’”). Additionally, Defendant

12   requests that the Court strike the allegations in footnotes 3, 5, 6, 7, 10, 11, 13, 14, 15, 16, and 17 and

13   paragraphs 27 and 28 on pages 9-13 of the Complaint as irrelevant, immaterial, and impertinent under

14   Fed. R. Civ. P. 12(f).

15

16    Dated: August 24, 2022                            Respectfully submitted,

17                                                      MINTZ LEVIN COHN FERRIS GLOVSKY AND
                                                        POPEO, P.C.
18
19
                                                        Daniel J. Herling
20                                                      Arameh Z. O’Boyle
                                                        Paige E. Adaskaveg
21
                                                        Attowrneys for Defendant
22                                                      TARGET CORPORATION
23

24

25

26

27

28
                                                        25
                     DEFENDANT TARGET CORPORATION’S NOTICE OF MOTION AND
                     MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT;
                      MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES
